Case 8:05-cr-00194-RAL-TGW Document 77 Filed 11/04/05 Page 1 of 6 PageID 136
Case 8:05-cr-00194-RAL-TGW Document 77 Filed 11/04/05 Page 2 of 6 PageID 137
Case 8:05-cr-00194-RAL-TGW Document 77 Filed 11/04/05 Page 3 of 6 PageID 138
Case 8:05-cr-00194-RAL-TGW Document 77 Filed 11/04/05 Page 4 of 6 PageID 139
Case 8:05-cr-00194-RAL-TGW Document 77 Filed 11/04/05 Page 5 of 6 PageID 140
Case 8:05-cr-00194-RAL-TGW Document 77 Filed 11/04/05 Page 6 of 6 PageID 141
